       Case 1:25-cv-00677-DLF           Document 68        Filed 05/13/25    Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




 CENTRO DE TRABAJADORES
 UNIDOS, et al.,

            Plaintiffs,

              v.                                    Civil Action No. 25-677 (DLF)

 SCOTT BESSENT, in his official
 capacity as Secretary of the Treasury, et
 al.,

            Defendants.



                          DEFENDANTS’ NOTICE OF FILING OF MOU

       The United States notifies the Court that pursuant to the order dated May 12, 2025, it is

filing a copy of the Memorandum of Understanding Between Treasury and DHS dated April 7,

2025, attached as Exhibit A. The MOU attached as Exhibit A is unredacted except for the names

of the IRS points of contact on page 13 of the MOU (page 16 of Exhibit A).

Date: May 13, 2025

                                             /s/ Andrew J. Weisberg
                                             Joseph A. Sergi (D.C. Bar No. 480837)
                                             Senior Litigation Counsel

                                             Andrew J. Weisberg (N.Y. Bar No. 5616321)
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                                                1
        Case 1:25-cv-00677-DLF         Document 68        Filed 05/13/25     Page 2 of 2




                                CERTIFICATE OF SERVICE

        I certify that on May 13, 2025, I filed the foregoing Notice of Filing of MOU with the

Clerk of Court using the CM/ECF system, which will serve counsel for the plaintiffs and all

other parties to this action.


                                                     /s/ Andrew J. Weisberg
                                                     Andrew J. Weisberg
                                                     Trial Attorney, Tax Division
                                                     U.S. Department of Justice




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